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Flamm Walton pr

AT TORN E YS AT LAW

F EMMETT FITZPATRICK. Ill 794 Penllyn Pike

267-419-1505 Blue Bell. PA 19422-1669
fefitzpatrick@flammlaw.com 267-419-1500
Admitted to Practice 267-419-1560 Fax
PA. NJ & CA www.flammlaw.com
August 17, 2011
VIA ECF & OVERNIGHT MAIL

William T. Walsh, Clerk

United States District Court
Mitchell H. Cohen Building

4h & Cooper Streets, Room 1050
Camden, NJ 08101

4905 West Tilghman Street. Suite 310
Allentown. PA 18104-9133
610-336-6800

610-336-0167 Fax

750 Route 73 South, Suite 301
Marlton, NJ 08053-4191
856-810-2299

856-810-2266 Fax

Re: _ City Select Auto Sales, Inc. v. David Randall Associates, Inc., et al.
Civil Action No: 1:11-CV-02658-]BS-KMW.

Dear Mr. Walsh:

Pursuant to Local Rule 7.1(d)(5), please consider this a request for an
automatic extension of time to respond to Plaintiffs Motion for Class Certification.

The current noticed motion date is set for September 6, 2011 (Monday,
September 5, 2011 is Labor Day) and Plaintiffs’ Response is therefore due on or
before August 22, 2011. Pursuant to Local Rule 78.1 the next available Motion
Day is September 19 and Plaintiffs therefore request that date for the

aforementioned Motion.

No prior requests for an extension have been made. By copy of this letter, |
am serving this notice upon all parties to this case in accordance with the Local

Rule.

Sincerely,
—_———

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F. EMMETT FITZPAFRICK, IN
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cc: Hon. Jerome B. Simandle (via overnight mail)
Alan Milstein, Esq. (via electronic filing)
